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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Dearius Johnson
                            Plaintiff,
v.                                                Case No.: 1:13−cv−04121
                                                  Honorable Virginia M. Kendall
K. Passehl, et al.
                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 10, 2015:


       MINUTE entry before the Honorable Virginia M. Kendall:This case is hereby
dismissed without prejudice. Motion hearing held on 2/10/2015. Civil case terminated.
Mailed notice(tsa, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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